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         EXHIBIT 4
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Contact
                                       Kapil Gupta
www.linkedin.com/in/kapil-             Business Development and Portfolio Strategy at Amneal
gupta-01735812 (LinkedIn)              Pharmaceuticals
                                       Hauppauge, New York, United States
Top Skills
Pharmaceutical Industry                Experience
Generic Programming
Regulatory Affairs
                                       Amneal Pharmaceuticals
                                       10 years

                                       Business Development and Portfolio Strategy
                                       January 2015 - Present (7 years 9 months)
                                       85 Adams Avenue, Hauppauge, NY 11788


                                       DGM Global Business Development
                                       January 2014 - Present (8 years 9 months)


                                       Asst. General Manager; Portfolio and Business Development
                                       October 2012 - January 2014 (1 year 4 months)
                                       BD and Global Portfolio Management


                                       Zydus Cadila
                                       Senior Manager; Business Development
                                       November 2011 - October 2012 (1 year)


                                       Dr. Reddy's Laboratories
                                       5 years 8 months

                                       Global Generics Portfolio Managment
                                       June 2008 - November 2011 (3 years 6 months)
                                       Steering product selection for North America and enabiling organization to
                                       take critical decision with respect to product selection
                                       provide direction and support in identifying strategic business opportunities by
                                       working closely with IP, Regulatory, formulation development, Manufacturing
                                       and BD teams


                                       Identification of products with complexity associated in IP, Regulatory,
                                       Development, Bio or the dosage form where regulatory pathways are not clear


                                       Early development opporrtunity identification and API product selection by
                                       tacking new NDA filings and Phase III molecules



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                  Portfolio Management/ Prioritization : Prioritization of the selected products,
                  based on the business opportunity, Raw material / API availability, filing dates,
                  launch dates for the smoother flow of projects


                  Quarterly Global Generic portfolio update to higher management


                  Involvement in key BD activities: Helping BD team in deal structuring and
                  leveraging one deal to other countries
                  Identification of and addressing (with help of BD team) the generics portfolio
                  gaps (complex generics, niche products, difficult technology platforms etc)
                  through business development/ partnership efforts


                  Capacity planning and capability building:Identification of manufacturing
                  location based on the type of product well in advance to avoid last minute
                  hiccups
                  Analyzing and suggesting higher management to build or buy capability for
                  certain areas with a complete global picture and business case


                  MIS & Reporting

                  Intellectual Property Management Formulations
                  April 2006 - May 2008 (2 years 2 months)
                  Global patent searches for formulation related projects
                  Making patentability and freedom-to-operate opinions for formulation related
                  projects
                  Preparing clearance reports and preliminary patent assessment reports
                  Suggesting non-infringing formulations for generic products
                  Prior art search/analysis for invalidation
                  Answering Marketing queries related to IPR
                  Coordination with formulation development and business development
                  regarding opportunities




                  Education
                  SVKM's Narsee Monjee Institute of Management Studies (NMIMS)
                  Executive MBA, Business Administration and Management,
                  General · (2008 - 2011)


                  National Academy of Legal Studies & Research (NALSAR)
                  University Hyderabad
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                  PG Diploma in IPR, Intellectual Property · (2007 - 2008)


                  JSS College of Pharmacy, Ooty - "Ootacamund"
                  M Pharma, Pharmaceutics · (2004 - 2006)




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